               Case 2:21-mj-01631-DUTY Document 6 Filed 04/06/21 Page 1 of 1 Page ID #:56
                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                ~   Western Division
                                                              Plaintiff, ~                                           SEALED
                                  vs.                                    ~   Case Number: 2:21-MJ-01631-1            Complaint &Warrant
                                                                         ~   Initial App. Date: 04/06/2021           Custody
Zachary Horwitz                                                          ~   Initial App. Time: 1:00 PM




                                                            Defendant. ~ Date Filed: 04/05/2021
                                                                       ~ Violation: 18 USC 1343
                                                                       ~ ~-~eporter:
                                                                                                      ~~ k~e ~, W~~r
      PROCEEDINGS HELD BEFORE UNITED STATES                              ~                      CALENDAR/PROCEEDINGS SHEET
         MAGISTRATE Ji1DGE: Jean P. Rosenbluth                           ~                       LOCAL/OUT-OF-DISTRICT CASE



   PRESENT:                   Martinez, Beatriz                                                                              None
                                                                  ~I.txatid~,r~wab
                                 Deputy Clerk                            Assistant U.S. Attorney                       Interpreter/Language
          ❑ INITIAL APPEARANCE NOT HELD -CONTINUED
          ~urt issues Order under Fed. R. Crim. P. 5(fl concerning prosecutor's disclosure obligations; see General Order 21-02(written order).
          ~     fendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
             ❑ preliminary hearing OR ~moval hearing /Rule 20.
          ❑ Defendant states true name ❑ is as charged ❑ is
          ❑ Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are directed to
            file all future documents reflecting the true name as stated on the record.
          ❑ Defendant advised of consequences of false statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
          B Attorney: Ryan Hedges, Retained ❑Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see separate order)
            8 Special appearance by: Anthony Pacheco
            Government's request for detention is: ❑GRANTED              DENIED ❑WITHDRAWN ❑CONTINUED
          ❑ Defendant is ordered: ❑Permanently Detained ❑Temporarily Detained (see separate order).
                 L FIXED AT $_ i~ pOO~ D00                         (SEE ATTACHED COPY OF C~-1 BOND FORM FOR CONDITIONS)
              o ernment moves to tJriS AL Complaint/IndictmenUInformation/Entire Case: D~RANTED ❑DENIED
              reliminary Hearing waived.
          ❑ Class B Misdemeanor ❑ Defendant is advised of maximum penalties
          ❑ This case is assigned to Magistrate Judge                                                 .Counsel are directed to contact the clerk for the
            setting of all further proceedings.
          ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
            District Judge                                                             for the setting of further proceedings.
          ❑ Preliminary Hearing se for                                    at 4:30 PM
          ~A set for:                       20 L           at~ in LA;                                                     in          a
          ❑ Government's motion o disc ziss case/defendant ` I Mao a''n'                                 only: ❑GRANTED ❑DENIED
          ❑ Defendant's motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
          ❑ Defendant executed Waiver of Rights. ❑Process received.
          ❑ Court ORDERS defendant Held to Answer to                                    District of
             ❑ Bond to transfer, if bail is posted. Defendant to report on or before
             ❑ Warrant of removal and final commitment to issue. Date issued:                                  By CRD:
             ❑ Warrant of removal and final commitment are ordered stayed until
          ❑ Case continued to (Date)                                        (Time)                                    AM / PM
            Type of Hearing:                                 Before Judge                                           /Duty Magistrate Judge.
            P~ro eedings will be held in the ❑Duty Courtroom                                ❑Judge's Courtroom
          C
          ~fefendant committed to the custody of the U.S. Marshal ❑Summons: Defendant ordered to report to USM for processing.
          ❑ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
          ❑ Abstract of Order to Return Defendant to Court on Next Court Day (M-20)issued. Original forwarded to USM.
          ❑ RELEASE ORDER NO:
          ❑ Other:
                        PSA ❑ USPO ❑-~PI              ~~                   CR-10         R-29                      READY                     p~
                                                ~   ~~d                                                              Deputy Clerk Initials ~
                                                                                                                                        :
                                                                                                                                        ~

      M-5 (10/13)                            CALENDAR/PROCEEDING SHEET -LOCAL/OiTI=OF-DISTRICT CASE                                     Page 1 of 1
